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A 0 199A (Rev. 1211 I) Ordcr Serung Canditiaor o f Release                                                     Page 1 of   3 Pages

                                        UNITEDSTATESDISTRICTCOURT
                                                                       for the
                                                             Eastern District of California


                     United States of America
                                v.
                   PRISCILLA MELISSA DlAZ                                  1        Case No, 5:12-mj-00028 JLT
                                                                           1
                                                                           1
                                         ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant's release is subject to these conditions:

(1)    The defendant must not violate federal, state, or local law while on release.

(2)    The defendant must cooperate in the collection of a DNA sample if it is authoriccd by 42 U.S.C. 5 14135a.

(3)    Thc dcfcndant must advise the court or the pretrial services office or supervising officcr in writing beforc making
       any change of residenee or telephone number.

(4) Thc dcfcndant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
       thc court may impose.

       The defendant must appear at:                 United States District Court, District of Alaska                                . ..
                                                                                              Place
        (PreTrial Services to obtain court address and notitv defendant of same.)

                                                                      7/23/2012 9:00 am                                      --

                                                                          Do'rund Tcme before the United States District Judge

       If blank, defendant will be notified of ncxt appearance.

(5)    The defendant must sign an Appearance Bond, if ordcrcd
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DIAZ, Priscilla
Docket No. 5:12MJ00028 JLT

                                              ADDITIONAL CONDITIONS OF RELEASE

           Upon finding t h a t release by o n e o f t h e above methods will not by itself reasonably assure the a p p e a r a n c e o f t h e defendant
a n d the safely of other persons a n d the community, i t is F U R T H E R O R D E R E D t h a t the release of the defendant is subject t o the
conditions marked below:

(X)       (7)       T h e defendant is placed i n the custody o(:

                    Name of Derson o r organization M a r t h a Castillo



w h o agrees (a) to supervise the defendant in accordance with all conditions of release,
(b) to use every effort to assure the appearance of the defendant a t all scheduled c o u r t proceedings, a n d (c) to notify the c o u r t
immediately i n the event the defendant violates any conditions of release o r disappears.

                    SIGNED:


(X)       (8)       T h e detendant shall:
          ( i       (a)       maintain or activcly seek employment, and provide proof thereof to the PSO, upon request.
          ( )       (b)       maintain or commence an educational oroeram.      ,   -
          )         (CJ       ablde bv the lollonine restrictions on his personal associations, place of abode, or trabel:
                              Krside at a residence appro\ed bt the PSO. and not more or be abscnt from thts residence for more than 24 hrs.
                              without prior anproval of PSO: travel restricted to Eastern District ofCalifornia and to and from Anchoraee,
                              Alaskd. for court related purposes, unless orhernise appro\,ed in adbance b! PSO.
          t 1       (d)       J I O I ~all uont-xt u ~ 1112
                                                        h 1.01 uulnd ndmcd pcrsunr, uho are ;uns~derud c ~ ~ hiilcgcd      cr     \~;t~ms or pulcntla u1111chsch
                              unless in the prcscnce of counsel or othenvise approved in advance by the PSO.
          (X)       (e)       report on a regular basis to the following agency:
                              Pretrial Services and comply with their rules and reeulations.
          0         (f)       comply with thc following curfew.
          ( )       (g)       refrain from possessing a firearm, destructive device, or other dangerous weapon.
          t t       th)       reh-ln hum c ~ c c s s ~ \ c ~ ~ c o f ' n l c o2nd
                                                                               h udl n. y ~ l c u ~n
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                                                                                                          ~ ~      of3 narcotti drugand other cun~ruled ,~bstancr,
                              dctincd in 2 1 LISC 38U2 un.css pracr~bcdb) s Iicr~scrlrnul~capracrltloncr / / u ~ rc i r m i r l ~ ~ u l m u n / i < u nprc,cr~ht~.l,,r
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                              nol. may no1 be used
                              undergo mcdical or psychiatric treatment andlor remoin in an institution, as follows: Including treatment for drug/alcohol
                              dependency, and pay for costs as approved by the PSO.
          ( 1       ti)       executed a bond or an agreement to forfcit upon failing to appear or failure to abide by any of the conditions oFrelea?e,
                              the following sum of money or designatd property:
          ( )       (k)       post with the coun the following indicia or ownership of the above-described property, or the following amount or
                              pereentagc of the above-described money:
                              execute a bail bond with solvent sureties in the amount of $
                              return to custody each (weeklday as of o'cloek after bcing relcascd each (week)day as of o'clock for employment,
                              schooling, or the following limited purpose(s):
                              surrender any passpon to the Clerk, United States District Court, prior to your release from custody.
                              obtain no passport durine the pendencv of this case.
                              you shall sub~nitto drug or alcohol testing as approved by the Pretrial Services ORicer. You shall pay all or pan of the costs
                              of the testing smices based upon your ability to pay, as determined by the Pretrial Services Oficer.
          . .       . ..                  .                n sthe PSO within 48 hours of rcceiot.
                              reoon anv, ~ r e s m ~ t i o to
          )         (rl       report i n personio the Pretrial Serrices Arencs on the first norkine day lolloninc tour release from custod.).
          t )                 partlctpalc in one of inc fulloulng Lucatiun Mun~ror~ng                  program conbponentr .md ah.dc b) all the rcqJorcmcnlr of the
                              . -                                                  -
                              oroeram which will includeelectronicmonitorineorotherlocationverification svstem. Thc defendant shall oav all or Dan
                              of the costs of the program based upon your ability to pay as detmined by the PSO.
                                                                                                                                                      .   >




(Copies lo: Defendant US Attorney, US Mnrshnl, Pretrial Services)
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. . . . . . . ,.... . .. .., ... ... .. . .........                                                                  ---    -       -. -.--~-

                                                      ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

       Violating any ofthe foregoing conditions of release may result in the immediate issuanee of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of coun and could result in
imprisonment, a fine, or both.
       While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
conseeutive ( i . e . , in addition to) to any other sentence you receive.
       It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation:
tamper with a witness, vietim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt
to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are
significantly more serious if they involve a killing or attempted killing.
       If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to senre a sentence.
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If yon are convicted of.
       ( I ) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or morc - you will bc fined
             not more than $250,000 or imprisoned for not more than I 0 years, or both;
       (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years - you will be fined not
             more than $250,000 or imprisoned for not more than five years, or both;
       (3) any other felony - you will be fined not more than $250,000 or imprisoned not more than two years, or both;
       (4) a misdcrneanor - you will be fined not more than S100,OOO or imprisoned not more than one year, or both.
       11tern1 of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failurc to appear or surrender may result in the forfeiture of any bond posted.

                                                           Acknowledgment or the Defendant

       I acknowledge that I am the defendant in this case and that I am aware of the conditions ofrelease. I promise to obey all conditions
of release, lo appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions set forth above.




                                                                                            DeJ>ndanl'r Signature


                                                                                                                                                .
                                                                                                Cry ond Slare



                                                         Directions to the United States Marshal

( J ) The defendant is ORDERED released after processing.
(   ) The United States marshal is ORDERED lo keep the defendant in custody until notified by the clerk or judge that the defendant
         has posted bond andlor complied with all other conditions for release. If still in custody, the defendant mlist be produced before
         the appropriate judge at the timc and place specified.                                                .  >  .    .



                                                                             Jennifer L. ~ h u r s t o -.
                                                                                                       n , ' ~Magistrate
                                                                                                              .~.      --J --
                                                                                                                           udge        -
                                                                                            Prlnred noine ondiille




                          DISTRIBUTION:          COURT    DEFENDANT    PRETKIAL SEKVICE     U S . ATTOKNEY          L.S. h4ARSHAL
